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               UNITED STATES OF AMERICA

                                                                            ORDER SETTING CONDITIONS
                                                                                                                                                       I
                                                                                   O F RELEASE
                              .
        nf)~/e/              Defendant
                                                                        Case Number:         84 p/ o&as3 0 &$
                                                                                            1.1

             IT IS ORDERED that the release of the defendant is subject to the following conditions:

               (1) The defendant shall not commit any offenae in violation of federal. state or local law while on release in t h ~ s
                   ca\e.

              ( 2 ) The defendant shall ~mmediatelyadvise the court, defense counsel and the U.S attorney in writing of any
                    change in address and telephone number.

              (3) The defendant shall appear at a11 proceedings as

                     iriipos d as directed. T'hc dcfendant shall next appear at (if blank, to be notifie

                                                                                                                                             4.00

                                    Release on Personal Recognizance or Unsecured Bond
                                                                                                                                                       I
             IT IS FURTHER ORDERED that the defendant he released provided that:
                                                                                                                                                       I
        ( J ) (4)



        (
                     The defendant promises lo appear at all procrrdi~lgsas requircd m d to surrender for service of any sentence
                     imposed.

            ) ( 5 ) The defendant executes an unsecured bond binding the defendant to pay the LJnited States the sum of
                                                                                                                                                       I
                                                                                                 dollars
                                                                                                     .$(                             )
                     i n the event of a failure to appear as required or to surrender as directed for service of any sentence imposed.




WHITE COPY - COURT         YELLOW - D E F E N D A N T   B L U E - U S. ATTORNEY      PINK - U S M A R S H A L   G R E E N - P R E T R I A L SERVICES
              Case 1:06-cr-00253-LJO Document 53 Filed 10/05/06 Page 2 of 3
MEDRANO, Daniel        ADDITIONAL CONDITIONS OF RELEASE
0650253 OWW

         Upon finding that release by oneoftheabovcrnethods will not by itselfreasonably assure theappearanceofthedefendant
and the safety ofother persons and the community, it is FURTHERORDERED that the release of the defendant is subject to the
conditions marked below:

( )        (6)       The defendant is placed in the custody ofi

                     Name of person or organization

who agrees (a) to supervise the defendant in accordance with all conditions of release,
(b) to use every effort to assure the appearance ofthe defendant at all scheduled court proceedings, and (c) to notify the court
immcdiately in the event the defendant violates any conditions of release or disappears.

                     SIGNED:
                                           CUSTODIAN OR PROXY
(X)       (7)        The defendant shall:
           (x)       (a)      maintain or nctivelv seek emplo~mmt.and provide proof thereof to the PSO upon request.
          ( I        ..
                     (b)      maintain or commence an educational oroeram. .
           (XI       \C)      m  e ov the fuliowine rcstristionr on h ~ persona.
                                                                           s          ~sociations,place . ) f a b o d c . ~ , r a d
                              H e s ~ d c ~ S c r v i c and                               c nots move or be abrcnl from t h ~ :cs~dcncc
                                                                                                                                    r            for morc than 24 hrs
                              withou: Drior dppr<l\.alofI'SO. trabcl r c r t E d lo lhc l:a,lcrn I)irlr~ct~~fCal~h~rnlb,un'ess      o t h c r . ~ r c a ~ ~ r o111
                                                                                                                                                                ~ ad~ancc
                                                                                                                                                                   cd

          i?o        (dl        a\.oid all contact nlth the f,,.lc,\ri~!r named pcrsonr. uho are c m r dcrccl cither Jl!c& ~ict.m,or p,~tcnt.al a.~lncrscs.
                                llector Sando,al . A \ ~ c l ~ t i c o r pMcdina
                                                                           c     Avclnr. Vireilio M r ! c o l a Jr.. I)om.nic IldIVcr. Jtsur Mcndci. and Anuro
                                \ ~.lalobo\.unle\r in the orcrencc ofcounscl or othcru 1st dpprovcd in ad\.ancc b\* the I'SO
          (x)        (c)        report on a regular basis to the followine agencv:
                                Pretrial Services and comolv with their rules and regulations.
           ( )       (0         comply with the following curfew:
           ( )       (g)        refrain from possessing a firearm, destructive device, or othcr dangerous weapon.
           (X)       (h)        refrain from ANY use o f alcohol. and any use or unlawtul possession of a narcotic drue and othcr controlled substances
                                defined in 21 USC 6802 unless prescribed by a licensed medical oractitioner. However, medical mariiuana, re scribed
                                or nor, mav not be used.
          (x)        ii)         undergo medical or psvchi~trictreatment andlor remain i n an institution. as follows: Including rreatment for drug andlor
                                glcohcil dcpendcnc\. and            for c&ts & ,iEro\ea b\ the I'SO
           (XJ       I1         ckccute 3 bunJ ur nnaprcemtnl to f o r k i l upon-h~          ~ o c 3 or
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                                -follouing sum ~ i m o n c or  \ dcs~pnatcdpropen, F200,iIUG projr.rt\. h ~ n iciured
                                                                                                                J             h~eauir! in propen! unncd h            w
                                 and Marearita Mcdrano.
           ( )       (k)         post with the court the following indicia or ownership o f thc above-deseribed property, or the following amount or
                                 percentage o f the above-described money:
          ( 1        (1)        execute a bail bond with solvcnt surcties i n the amount o f $
          ( )        (m)        return to custody each (week)day as o f o'clock after being released each (week)day as o f o'clock for employment,
                                 schooling, or the following limited purpose(s):
          (1         (n)        surrender any passport to the Clerk, Unitcd States District Court.
          (x)        (0)        refrain from frequenting any place where alcohol is the primarv product being disoensed or sold,
          (Xi        (PI         rcnun i n oeraon 10 the Prctr~al'icnices Aaenc\ I Ithe  ~ first norkiila Ja\ f o . l ~ ~ \ r i n,tlur
                                                                                                                                   e r;!esc from ;u,tud\
          (XI        (q)        suhmit 10 Jrur andor alcohol tcslinr as directed hy PSQ.
          (X)        (1)        report anv orescriptions to PSO within 48 hours ofreceipt.
          (1         (s)        participatein oncofthc following homeconfinement program components andabide by all the requirements of the progrnrn
                                which ( ) will or ( ) w i l l not include electronic monitoring or other location verification system.
                                ( ) (i) Curfew. You are restricted to your residence every day ( )from                                    10 pp2               or
                                             ( ) as directed by the Pretrial Services office or supervising officer; or
                                ( ) (ii) Home Detention. You are restricted to your residence at all times cxcept for employment; education;
                                             religious services; or mental health treatment: attorney visits; court appearances; court-ordcred obligations;
                                             or other activities as pre-approved by the Prctrial Services oiiicc or supervising officer; or
                                ( ) (iii) Home Incarceration. You are restricted to your residence at all times except for medical needs or treatment
                                            religious services, and court appearances pre-approved by the Prctrial Scrvices office or supervision officer.


(Copies to: Defendant. US Attorney, US Marshal, Pretrial Services)
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                        8 1 ) Advice or Penaltiti...




                   E DEFENDANT:
               OU ARE ADVISED OF THE FOLLOWING PENALTIES AND SANCTIONS:

                                                                                                 in the immediate issuance of a warrant for your arrest.
                                                                                                      of court and could result in a term of imprisonment,
 a fine. or hoth
      The commission of any crime while on pre-trial release may result in an additional sentence to a term of imprisonment of
 not more than ten years, if the offense is a felony: or a term of imprisonment of not more than one year, if the offense is a
 misdemeanor. This sentcnce shall he in addition to any other sentence.
      Federal law makes it a crime punishable by up to live years of imprisonment, and a $250.000 tine or both to intimidate or
 attempt to intimidate a witness. victim, juror, informant or officer of the court, or to obstruct a criminal investigation. It is also
 a crime pu~liahableby up to ten years of imprisonment, a $250,000 fine or both, to tamper with a witness, victim or informant,
 or to retaliate against a witness. victim or informant; or to threaten or attempt to do so.
      If after release. you knowingly Fail to appear as required by the conditions of release, or to surrender for the servicc of scntence,
 you may he prosecuted for failing to appear or surrender and additional punishment may be imposed. If you are convicted of:
      ( I ) an offense punishable by death, life imprisonment, or imprisonment for a term of fifteen years or more, you shall be
            fined not inore than $250.000 or inlprisoned for not more than ten years, or both:
      (2) an offense punishable hy imprisonment for a term of five years or more, but less than fifteen years, you shall be lined
            not nlorr than $250.000 or imprisoned for not more than five years or both;
      (3) any other felony, you shall be fined not more thnn $250,000 or i~rlprisonedfor not more than two years, or both:
      (4) u misdemeanor. you shall be fined not more thnn $100,000 or imprisoned not more than one year, or both.
      A term of in~prison~nent   imposed for failure to appear or surrender shall be in addition to the sentence for any other offense.
 In addition. a f:lilure to appear may rcsull in he forfeiture of any bond posted.

                                                              .4cknowledgement of Defendant
    I acknowledge that I am the defendant in this case and that 1 am aware of the conditions of release. 1 promise to obey all
condirioils of release, to appear as directed, and to surrender for service of any sentence imposed. I am aware of thc penalties
and sanctions set forth above.




                                                                                                                                            Tclcphone




                                                          Directions to United Statcs Marshal
(    .(
      The defendant is ORDERED released after processing.
      The United States marshal is ORDERED to keep the defendant i
(    )
               the defendant has posted bond and/or complied with all other con                                                              roduced before
                                          cer at the time and place specified, if s


                                                                                                              Signature of Judicial   weer
                                                                                                         Name and Title of Judicial Ofticer




WYlTE COPY - COURT                       YELLOW - DEFENDANT         BLUE - U S A r r O R N E V         P I N K U S MARSHAL            GREEN - PRETRIALSERVICES
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         ...   *",.ss
